           Case 2:24-cv-00873-RFB-BNW Document 8 Filed 06/21/24 Page 1 of 6




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 8                                 UNITED STATES DISTRICT COURT
 9                                        CLARK COUNTY, NEVADA
10    PATRICIA DAVIS,
                                                          CASE NO.: 2:24-cv-00873
11                          Plaintiff,
12    v.
13    JOHN WARNER, an individual; B.C. & T., INC. JOINT DISCOVERY PLAN AND
      a Utah Corporation; DOE INDIVIDUALs 1 SCHEDULING ORDER
14    through 10; ROE BUSINESS ENTITIES 11
      through 20
15
                            Defendants.
16

17          Plaintiff PATRICIA DAVIS, by and through her counsel Christian Miles of Bay Law Accident
18   Attorneys and Defendants, JOHN WARNER and B.C & T, INC, by and through their counsel, Harold
19   Rosenthal of Wiley Petersen Law Firm, submits the following Joint Discovery Plan and Scheduling
20   Order (“Plan”). The parties conducted a discovery planning conference on June 13, 2024.
21          1.     Brief Factual Summary and Procedural History of Case:
22                 This case involves an alleged auto accident where tire debris from Defendant’s truck
23          struck the vehicle carrying Plaintiff.
24          2.     Initial Disclosures:
25                 Plaintiff’s Initial Disclosures will be due and produced on June 27, 2024.
26                 Defendants’ Initial Disclosures will be due and produced on June 27, 2024.
27          3.     Number of Days Required for Discovery:
28                 The parties do not anticipate that discovery will exceed the one hundred eighty (180)

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     Case 2:24-cv-00873-RFB-BNW Document 8 Filed 06/21/24 Page 2 of 6




 1   days anticipated by LR 26-1(e). The Parties therefore stipulate to a discovery cut-off date of
 2   November 6, 2024, which is 180 days after Defendants removed the case to Federal Court.
 3   4.      Amending the Pleadings and Adding Parties:
 4           Plaintiff does not anticipate additional parties to the case. The Parties believe that it is
 5   premature before discovery to anticipate whether additional claims may need to be added into
 6   this action. If it is discovered that different or additional parties are responsible for the subject
 7   claims, or that additional claims exist which should be included in this litigation, including
 8   possible counterclaims, the Parties will seek to add those Parties as defendants and/or add the
 9   additional claims in this action, either by stipulation to do so by amended pleadings, or through
10   a motion to amend the pleadings, as needed. The Parties agree the date of filing motions to
11   amend the pleadings or to add parties shall not be later than ninety (90) days prior to the close
12   of discovery pursuant to Local Rule 26-1(e)(2), or August 8, 2024.
13   5.      Fed. R. Civ. P. 26(a)(2) Expert Disclosures:
14           The Parties agree that the time deadlines specified in Fed. R. Civ. P. 26(a)(2)(C) for
15   disclosures concerning experts shall not be later than sixty (60) days prior to the close of
16   discovery pursuant to Local Rule 26 1(b)(3), or September 9, 2024. Rebuttal expert disclosures
17   shall be made 30 days after the initial disclosure of experts, which is October 7, 2024.
18   6.      Dispositive Motions:
19           The Parties agree that the date for filing dispositive motions shall be pursuant to Local
20   Rule 26-1(e)(4) and not later than thirty (30) days after the discovery cut-off date, or December
21   6, 2024.
22   7.      Pretrial Order:
23           The Parties agree that pursuant to Local Rule 26-1(e)(5), the Joint Pretrial Order shall
24   be filed not later than (30) days after the date for filing dispositive motions, or January 6, 2025.
25   In the event dispositive motions are filed, the date for filing the joint pretrial order shall be
26   suspended until thirty (30) days after the decision of the dispositive motions or further order of
27   the Court.
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     Case 2:24-cv-00873-RFB-BNW Document 8 Filed 06/21/24 Page 3 of 6




 1   8.       Extensions of Scheduled Deadlines:
 2         In accordance with Local Rule 26-4, a stipulation or motion for modification or extension
 3   of this discovery plan and scheduling order must be made no later than twenty-one (21) days
 4   before the expiration of the subject deadline.
 5   9.       Fed. R. Civ. P. 26(a)(3) Disclosures:
 6            Pursuant to Local Rule 26-1(e)(6), the disclosures required by Fed. R. Civ. P. 26(a)(3)
 7   and any objections thereof shall be included in the Joint Pretrial Order.
 8   10.      Subjects for Discovery:
 9            The Parties agree that discovery may be needed on all claims or defenses raised in the
10   pleadings. At this time, the Parties do not anticipate conducting discovery in phases or
11   otherwise limiting discovery to particular issues.
12   11.      Privilege:
13         The Parties intend to enter into a stipulated protective order to protect the confidentiality of
14   materials that are normally kept confidential by the parties, either for proprietary, commercially
15   competitive reasons and other federal and state privacy grounds. At this time, the Parties do not
16   see the need to request the Court to enter any orders other than the Stipulated Protective Order
17   which the Parties intend to submit within thirty (30) days
18   12.      Alternative Dispute Resolution.
19            The parties certify that they met and conferred about the possibility of using alternative
20   dispute-resolution processes including mediation, arbitration, and if applicable, early neutral
21   evaluation.
22   13.      Alternative Forms of Case Disposition.
23            The parties certify that they considered consent to trial by a magistrate judge under 28.
24            U.S.C. § 636(c) and Fed. R. Civ. P. 73 and the use of the Short Trial Program (General
25            Order 2013-01).
26   14.      Electronic Evidence:
27            The parties certify that they discussed whether they intend to present evidence in
28   electronic format to jurors for the purposes of jury deliberations. The parties have reached no

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          Case 2:24-cv-00873-RFB-BNW Document 8 Filed 06/21/24 Page 4 of 6




 1         stipulations yet concerning providing discovery in an electronic format compatible with the
 2         court’s electronic jury evidence display system. The parties may serve discovery requests,
 3         discovery responses, and disclosures via electronic mail or U.S. Mail.
 4          15. Discovery and Motion Dates:
 5                A. Close of Discovery:                          November 6, 2024
 6                B. Motions to Amend Pleadings                   August 8, 2024
 7                or Add Parties (without court order):           (90 days before close of discovery)
 8                C. Initial Experts:                             September 9, 2024
 9                                                                (60 days before close of discovery)
10                D. Rebuttal Experts:                            October 7, 2024
11                                                                (30 days after initial disclosure of
12                                                                experts)
13                E. Final date to file Dispositive               December 6, 2024
14                Motions:                                        (30 days after discovery cut-off)
15                F. Joint Pretrial Order:                        January 6, 2025
16                                                                (30 days after date set for dispositive
17                                                                motions)
18

19

20   DATED this 20th day of June 2024.                    DATED this 20th day of June 2024.
21   WILEY PETERSEN                                       BAY LAW ACCIDENT ATTORNEYS
22   /s/ Harold J. Rosenthal                              /s/ Christian A. Miles
     ________________________________                     ______________________________________
23   RYAN S. PETERSEN, ESQ.                               Christian A. Miles, Esq.
     Nevada Bar No. 010715                                Nevada Bar No. 13193
24   HAROLD J. ROSENTHAL, ESQ.                            Nihat Deniz Bayramoglu, Esq.
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     Las Vegas, Nevada 89135                              Henderson, Nevada 89014
26
     Attorneys for Defendants                             Attorney for Plaintiff
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     Case 2:24-cv-00873-RFB-BNW Document 8 Filed 06/21/24 Page 5 of 6




 1
                                  IT IS SO ORDERED.
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 3

 4
                                          June 21
                                  DATED: _________________, 2024
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                                  _____________________________________
 7                                UNITED STATES MAGISTRATE JUDGE
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            Case 2:24-cv-00873-RFB-BNW Document 8 Filed 06/21/24 Page 6 of 6




                                         CERTIFICATE OF SERVICE
 1
            I hereby certify that I am an employee of WILEY PETERSEN, and that on the 20th day of June,
 2
     2024, I caused to be served a true and correct copy of foregoing JOINT DISCOVERY PLAN AND
 3
     SCHEDULING ORDER in following manner:
 4
            (ELECTRONIC SERVICE) Pursuant to Rule 5-4 of the Local Rules of Civil Practice of the
 5
     United States District Court for the District of Nevada, the above-referenced document was
 6
     electronically filed on the date hereof and served through the Notice of Electronic Filing automatically
 7
     generated by that Court’s facilities.
 8

 9                                                       /s/ Chastity Dugenia
10                                                 ______________________________                _
                                                   An Employee of WILEY PETERSEN
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